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                                                                           EXHIBIT - O

From:                       Greg Cohen <gcohen@colonialventuresllc.com >
Sent:                       Thursday, September 29, 2022 2:53 PM
To:                         Bryan Almeida; Jeff Neiman; Barry Honig
Cc:                         Gino Limeri
Subject:                    Step Aside Memo
Attachments:                VS_Step_Aside_Memo.pdf




Gregory D. Cohen
(973) 699-4714 (C)
(212) 851-6425 (W)
Sent from my iPhone
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                                       STEP ASIDE MEMO

  September 23rd, 2022


  It is agreed and understood that Vladyslav Sirenko has decided to forego the opportunity to
  participate in a boxing contest on the 24th of September, 2022 at the Manchester Arena.
  Instead he has opted to participate in a boxing contest at Heavyweight in Cardif Wales on the
  third of December, 2022 v. Joseph Joyce. The contest has been approved for sanctioning by the
  World Boxing Organization for the Interim World Championship. The compensation that will be
  paid to Mr. Sirenko’s exclusive promoter will be paid as follows. One hundred thousand dollars
  to be paid within seven business days of today. Payment will be made directly to the Mr.
  Sirenko’s promoter Bulldog Boxing Promotions LLC via wire transfer. No fees or taxes shall be
  deducted from the payment and all local and state taxes owed are the sole responsibility of the
  recipient of the fee, Bulldog Boxing Promotions LLC. It is agreed and accepted that the gross
  fee that Bulldog Boxing Promotions is to receive for delivering the services of Mr. Sirenko on
  the third of December will be four hundred fifty thousand dollars, net of taxes and fees. All
  fees shall be paid directly to Bulldog Boxing Promotions LLC by the network provider of the
  event BT (British Telecom) or in the event that the funds are posted in escrow before the bout
  with the World Boxing Organization, they will forward the payment to Bulldog Boxing
  Promotions LLC the payment within seven business days of the completion of the event. Long
  form agreement to follow.

  Terms Abo~,e Are Agr~& Accepted By The Undersigned:




  Michael Cam~ron, Authorized Representative




(~id yslav/~enk°


  Gino Limeri, Bulldog Boxing Promotions LLC
